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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


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 NEXTERA ENERGY GLOBAL HOLDINGS        :
 B.V. and NEXTERA ENERGY SPAIN         :
 HOLDINGS B.V.,                        :
                                       :
                          Petitioners, : Civil Action No. 19-cv-01618-TSC
                                       :
                 v.                    :
                                       :
 KINGDOM OF SPAIN                      :
                                       :
                          Respondent :
                                       :
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                    FURTHER JOINT STATUS REPORT

          Per the Court's October 28, 2021 Order, the Parties hereby submit this Further Joint Status

Report.

          Since the last status report filed on December 1, 2021, the following developments have

occurred in the annulment application brought by Respondent the Kingdom of Spain before the

International Centre for Settlement of Investment Disputes ("ICSID") regarding the March 12,

2019 award rendered in ICSID Case No. ARB/14/11:

             1. On December 1, 2021, the ICSID ad hoc committee declared the annulment

                 proceedings to be closed.

             2. On December 3, 2021, the Kingdom of Spain made an application to re-open the

                 annulment proceedings to allow for submissions on certain matters.

             3. On December 7, 2021, Petitioner NextEra responded to Spain's application.
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           4. On December 21, 2021, the ICSID ad hoc committee declined to re-open the

              annulment proceedings and made directions for both parties to submit updated

              statements of their costs of the proceedings.

           5. On January 25, 2022, the parties' updated costs submissions were completed.

       The Parties now await a decision on Spain's application. The Parties will file a further Joint

Status Report on April 1, 2022, or a Joint Status Report and Proposed Order within five business

days of any ruling or relevant development in the proceedings pending before the Annulment

Committee.




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Dated: January 31, 2022.
Washington, D.C.

Respectfully submitted,

 /s/ Bradley Klein

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